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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Leonard A. Eisenberg and Carol A. Eisenberg,

                                   Plaintiffs,                        18 CV 02092 (KMK)
         -v-
                                                                      CALENDAR NOTICE
Permanent Mission of Equatorial Guinea
to the United Nations,

                                   Defendant.
-----------------------------------------------------X
KENNETH M. KARAS, District Judge:


         Please take notice that the above captioned action has been scheduled for
a status conference before the Honorable Kenneth M. Karas, United States District Judge, on
Thursday, November 12, 2020 at 11:30 a.m.


NOTICE OF TELECONFERENCE INFORMATION: Counsel shall call the following number
at the designated time: Meeting Dial-In Number (USA toll-free): (888) 363-4749 Access Code:
7702195 Please enter the conference as a guest by pressing the pound sign(#). Given that much
of the Court is operating remotely and has limited mail capability, counsel involved in any prose
cases shall mail a copy ohhis Notice to or otherwise inform the prose party of the above
teleconference information. Counsel in any pro se inmate cases shall ensure that the pro se party
is on the line before calling the above-referenced number. Any requests for adjournments should
be filed as soon as possible and clearly explain why the conference should be adjourned.


Dated: November 5, 2020
       White Plains, New York




                                                         Kenneth M. Karas, U.S.D.J
